       Case 4:10-cr-00024-BMM Document 225 Filed 01/12/17 Page 1 of 3




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                        CR-10-24-GF-BMM-1

                Plaintiff,

       vs.
                                            ORDER ADOPTING FINDINGS AND
RYAN SIDNEY JACKSON,                            RECOMMENDATIONS

                Defendant.



      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter December 27, 2016. (Doc. 223.) Neither party

filed objections. When a party makes no objections, the Court need not review de

novo the proposed Findings and Recommendations. Thomas v. Arn, 474 U.S. 140,

149-52 (1986). This Court will review Judge Johnston’s Findings and




                                        1
       Case 4:10-cr-00024-BMM Document 225 Filed 01/12/17 Page 2 of 3



Recommendations, however, for clear error. McDonnell Douglas Corp. v.

Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981).

      Judge Johnston conducted a revocation hearing on December 21, 2016.

(Doc. 222.) Jackson admitted that he violated the conditions of his supervised

release. The violations prove serious and warrant revocation of Jackson’s

supervised release. Judge Johnston has recommended that the Court revoke

Jackson’s supervised release and commit Jackson to the custody of the Bureau of

Prisons for nine months and given credit for time served from the date Jackson was

arrested in North Dakota on November 17, 2016 (Doc. 223 at 4.) Judge Johnston

further has recommended that Jackson’s term of custody be followed by 27 months

of supervised release in North Dakota.

      The Court finds no clear error in Judge Johnston’s Findings and

Recommendations. Jackson’s violations of his conditions represent a serious

breach of the Court’s trust. A sentence of nine months custody followed by 27

months of supervised release represents a sufficient, but not greater than necessary,

sentence.

      IT IS ORDERED that Judge Johnston’s Findings and Recommendations

(Doc. 223) is ADOPTED IN FULL.

      IT IS FURTHER ORDERED that Defendant Ryan Sidney Jackson be

sentenced to nine months custody followed by 27 months of supervised release.


                                          2
       Case 4:10-cr-00024-BMM Document 225 Filed 01/12/17 Page 3 of 3



The Court recommends that Jackson’s supervised release be transferred to North

Dakota upon release from custody. The conditions previously imposed shall be

continued.

      DATED this 12th day of January, 2017.




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